EXHIBIT 3
                          IN THE UNITED STATES DISTRICT
                         COURT FOR THE EASTERN DISTRICT
                            OF TEXAS SHERMAN DIVISION


 MOBILITY WORKX, LLC,

         Plaintiff,

 v.                                                 Civil Action No. 4:17-cv-00872-ALM

 CELLCO PARTNERSHIP,                                   JURY TRIAL DEMANDED
 D/B/A VERIZON WIRELESS,

         Defendants.




      PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S FIRST SET OF
        REQUESTS FOR ADMISSION NUMBER 46 AND BEYOND TO PLAINTIFF

        Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Plaintiff

Mobility Workx (“Mobility” or “Plaintiff”) hereby objects and responds to Defendant’s First

Set of Requests for Admission to Defendant (“Requests”) served by Defendant Cellco

Partnership D/B/A Verizon Wireless (“Verizon”) on May 7, 2019.

                                RESERVATION OF RIGHTS

        Plaintiff makes the objections and responses herein (collectively, the “Responses”)

in accordance with its interpretation and understanding of Defendant’s Requests and in

accordance with its current knowledge, understanding, and belief as to the facts and the

information available to it as of the date of these Responses. If Defendant subsequently

asserts an interpretation of any Request that differs from Plaintiff’s understanding, Plaintiff

reserves the right to rely at the trial or in other proceedings on documents and information

in addition to

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 owners, officers, employees, consultants, representatives or other individuals because such

 definitions improperly seek to impose on Plaintiff an obligation to procure information that is

 not within its possession, custody or control. Plaintiff also objects to the definitions as

 including agents, such as attorneys, because those definitions improperly seek to impose on

 Plaintiff an obligation to procure information that is privileged and/or not within its possession,

 custody, or control. Plaintiff further objects to the definitions of the terms on the grounds that

 each (when in combination with the individual Request) seeks documents not relevant to any

 claim or defense in this litigation nor reasonably calculated to lead to discovery of admissible

 evidence. Plaintiff’s Responses are on behalf of Defendant only.




           RESPONSES AND OBJECTIONS TO REQUESTS FOR ADMISSION



REQUEST FOR ADMISSION NO. 26:

       Admit that VZ_MW_Prior Art_001770 to VZ_MW_Prior Art_001969 is a true and

accurate copy of 3GPP Technical Specification 23.060 Version 5.1.0 (2002-03), 3rd Generation

Partnership Project; Technical Specification Group Services and System Aspect; General

Packet Radio Service (GPRS); Service description; Stage 2 (Release 5), published at

https://portal.3gpp.org/desktopmodules/Specifications/SpecificationDetails.aspx?specificationId

=758 with an upload date of April 5, 2002.

RESPONSE TO REQUEST FOR ADMISSION NO. 26:

       Objections: Vague and Ambiguous and Compound. Mobility is unable to confirm nor

deny if that PDF is a true copy of anything. Moreover, Mobility is unable to confirm any

upload date. The year in which portal.3gpp.org was created is 2013, so Mobility cannot confirm



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any uploads or any dates if the site was created post 2002. See image below from Wayback

Machine. Denied.




REQUEST FOR ADMISSION NO. 46:

       Admit that VZ_MW_Prior Art_011615 to VZ_MW_Prior Art_011714 is a true and

accurate copy of 3GPP Technical Report 25.931 Version 5.1.0 (2001-06), 3rd Generation

Partnership Project; Technical Specification Group RAN; UTRAN Functions, Examples on

Signalling Procedures (Release 5), published at

https://portal.3gpp.org/desktopmodules/Specifications/SpecificationDetails.aspx?specificationId

=1353 with an upload date of June 28, 2002.

RESPONSE TO REQUEST FOR ADMISSION NO. 46:




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       Objections: Vague and Ambiguous and Compound. Mobility is unable to confirm nor

deny if that PDF is a true copy of anything. Moreover, Mobility is unable to confirm any

upload date. The year in which portal.3gpp.org was created is 2013, so Mobility cannot confirm

any uploads or any dates if the site was created post 2002. See image above in Response to

RFA 26. Denied.

REQUEST FOR ADMISSION NO. 47:

       Admit that VZ_MW_Prior Art_011715 to VZ_MW_Prior Art_011749 is a true and

accurate copy of 3GPP Technical Specification 25.401 Version 3.2.0 (2000-03), 3rd Generation

Partnership Project; Technical Specification Group Radio Access Network; UTRAN Overall

Description (Release 1999), published at

https://portal.3gpp.org/desktopmodules/Specifications/SpecificationDetails.aspx?specificationId

=1184 with an upload date of March 15, 2000.

RESPONSE TO REQUEST FOR ADMISSION NO. 47:

       Objections: Vague and Ambiguous and Compound. Mobility is unable to confirm nor

deny if that PDF is a true copy of anything. Moreover, Mobility is unable to confirm any

upload date. The year in which portal.3gpp.org was created is 2013, so Mobility cannot confirm

any uploads or any dates if the site was created post 2002. See image above in Response to

RFA 26. Denied.

REQUEST FOR ADMISSION NO. 48:

       Admit that VZ_MW_Prior Art_012589 to VZ_MW_Prior Art_012769 is a true and

accurate copy of 3GPP Technical Specification 23.060 Version 3.5.0 (2000-10), 3rd Generation

Partnership Project; Technical Specification Group Services and System Aspect; General

Packet Radio Service (GPRS); Service description; Stage 2 (Release 1999), published at



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REQUEST FOR ADMISSION NO. 53:

       Admit that VZ_MW_Prior Art_012129 to VZ_MW_Prior Art_012144 is a true and

accurate copy of an article published in ACM SIGCOMM Computer Communications Review

in 2003 entitled “NIST Net – A Linux-based Network Emulation Tool.”

RESPONSE TO REQUEST FOR ADMISSION NO. 53:

       Objections: Vague and Ambiguous and Compound. Mobility is unable to confirm nor

deny if that PDF is a true copy of anything. Assuming the document is genuine and the date is

accurate, admitted.

REQUEST FOR ADMISSION NO.54:

       Admit that VZ_MW_Prior Art_012119 to VZ_MW_Prior Art_012124 is a true and

accurate copy of an article published in 2003 entitled “EWANT: The Emulated Wireless Ad Hoc

Network Testbed.

RESPONSE TO REQUEST FOR ADMISSION NO. 54:

       Objections: Vague and Ambiguous and Compound. Mobility is unable to confirm nor

deny if that PDF is a true copy of anything. Assuming the document is genuine and the date is

accurate, admitted.

REQUEST FOR ADMISSION NO. 43:

       Admit that VZ_MW_0019112 to VZ_MW_0019127 is a true and accurate copy of 3GPP

Technical Report 21.902 Version 6.0.0 (2003-09), 3rd Generation Partnership Project;

Technical Specification Group Services and System Aspect; Evolution of 3GPP System; (Release

6), published at

https://portal.3gpp.org/desktopmodules/Specifications/SpecificationDetails.aspx?specificationId

=556 with an upload date of September 26, 2003.

RESPONSE TO REQUEST FOR ADMISSION NO. 43:

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